           Case
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 Attorney or Party Name, Address, Telephone & FAX                   FOR COURT USE ONLY                        FILED
 Nos., State Bar No. & Email Address                                                                CLERK, U.S. DISTRICT COURT




JAMIE LYNN GALLIAN                                                                                     8/5/22
16222 MONTEREY LANE, UNIT 376
HUNTINGTON BEACH, CA 92649                                                                              cs
                                                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                                    BY: ___________________ DEPUTY

714-321-3449
JAMIEGALLIAN@GMAIL.COM




      Individual appearing without attorney
                                                                                  SACV22-1454-ODW
      Attorney for:
                                   UNITED STATES BANKRUPTCY COURT
                     CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                        DIVISION
 In re:
                                                                    CASE NO.:8:21-BK-11710-ES
JAMIE LYNN GALLIAN
                                                                    ADVERSARY NO.:
                                                                    (if applicable)
                                                                    CHAPTER: 7
                                                     Debtor(s).




                                    Plaintiff(s) (if applicable).
                             vs.
                                                                                NOTICE OF APPEAL
                                                                           AND STATEMENT OF ELECTION




                                Defendant(s) (if applicable).

Part 1: Identify the appellant(s)

                            JAMIE LYNN GALLIAN
1. Name(s) of appellant(s): _________________________________________________________________________

2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this appeal:
For appeals in an adversary proceeding.
    Plaintiff
    Defendant
    Other (describe):
For appeals in a bankruptcy case and not in an adversary proceeding.
    Debtor
    Creditor
    Trustee
    Other (describe):


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Part 2: Identify the subject of this appeal

1. Describe the judgment, order, or decree appealed from:
   TENATIVE RULING 7/21/2022, UPDATED 7/22/2022 5:46:01PM, HONORABLE EDITHE A. SMITH
   SUSTAINING HOUSER BROS CO DBA RANCHO DEL REY MOBILEHOME ESTATES OBJECTION
   TO DEBTOR'S CLAIMED AND DECLARED HOMESTEAD EXEMPTION ON FILE ORANGE COUNTY
   TAX ASSESSOR EFFECTIVE 2/25/2021, PRIOR TO THE PETITION FOR CHAPTER 7 PETITION,
   7/9/2021
2. The date the judgment, order, or decree was entered:

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names, addresses, and telephone
numbers of their attorneys (attach additional pages if necessary):

1. Party: Houser Bros Co dba Rancho Del Rey Mobilehome Estates
    Attorney:
    D. Edward Hays
    ehays@marshackhays.com
    870 Roosevelt
    irvine, CA 92620
    949-333-7777




2. Party: Huntington Beach Gables Homeowners Association
    Attorney:
    Robert Goe
    rgoe@goeforlaw.com
    18101 Von Karmen Avenue Ste. 1200
    Irvine, CA 92612
    949-798-2460



Part 4: Optional election to have appeal heard by District Court (applicable only in certain districts)
If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will hear this appeal
unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the United States District Court. If
an appellant filing this notice wishes to have the appeal heard by the United States District Court, check below. Do not
check the box if the appellant wishes the Bankruptcy Appellate Panel to hear the appeal.

    Appellant(s) elect to have the appeal heard by the United States District Court rather than by the Bankruptcy
    Appellate Panel.


Part 5: Sign below

_____________________________________________________
         _____________________________                                   Date: 07/28/2022
Signaturere of attorney for appellant(s) (or app
                                             appellant(s)
if not represented by an attorney)

Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the form specified in
§ 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.

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                                   PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 5801 Skylab Road
 Huntington Beach, CA 92647

 A true and correct copy of the foregoing document entitled: NOTICE OF APPEAL AND STATEMENT OF ELECTION
 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
 the manner stated below:
 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
  07/28/2022 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                   Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
 first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
 judge will be completed no later than 24 hours after the document is filed.




                                                                   Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
 for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 07/28/2022 , I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
 such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
 that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
 filed.
 Janine Jasso, Esq.
 j9_jasso@yahoo.com




                                                                   Service information continued on attached page

 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 7/28/2022        Robert McLelland
 Date               Printed Name                                        Signature
                                                                           nature




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